Case 2:04-cr-20416-SH|\/| Document 26 Filed 08/26/05 Page 1 of 2 Page|D 30

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IN THE UNITED STATES DISTRICT COURT _
FOR THE WESTERN DISTRICT 0F TENNESSEBS AUG 26 PH h= 19

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Cl£!§,§ U.S. I‘TF§CT C_OURT
UNITED sTATES oF AMERICA, ) `"N GF '“"~ '*"~"""EPH'S
)
Plaintiff, ) Criminal No. 04-20416-Ma
VS. )
)
DERICO BOBBIT, ) 13 U.S.c. § 922(g)
)
Defeodaot. )

 

ORDER DISMISSING INDICTMENT

 

Upon Motion of the United States of America, pursuant to Fed. R. Crirn. P. 48, to dismiss
indictment 04-20416 returned against DERICO BOBBIT on September 29, 2004, it is
hereby ORDERED, ADJUDGED AND DECREED THIS °r*£aay of August 2005 that the

indictment herein is dismissed.

AAy/M__

UN[TED STATES DISTRICT IUDGE

 

DATE; Q)c§l§'“ g 5
APPROVED; haw U i_A-QQ`/j
Katrina U. Earley

Assistant United States Attorney
167 N. Main St:reet, Suite 800
Memphis, TN 38103

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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
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Honorable Samuel Mays
US DISTRICT COURT

